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       Causemetics, Inc.
 8
                                UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
11     THRIVE NATURAL CARE, INC.,                  Case No. 2:20-cv-9091-PA-AS
12                 Plaintiff,                      Hon. Percy Anderson
13           v.                                    DEFENDANT THRIVE
                                                   CAUSEMETICS’ OFFER OF PROOF
14     THRIVE CAUSEMETICS, INC.,                   REGARDING ITS AFFIRMATIVE
                                                   DEFENSES
15                 Defendant.
                                                   Trial Date: November 9, 2021
16                                                 Time:       9:00 a.m.
                                                   Place:      Courtroom 9A
17
18
19
20
21
22
23
24
25
26
27
28
                           DEFENDANT THRIVE CAUSEMETICS, INC.’S
                    OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
     Case 2:20-cv-09091-PA-AS Document 139 Filed 10/15/21 Page 2 of 15 Page ID #:6667



 1
             Pursuant to the Court’s October 7, 2021 Minute Order (ECF No. 115),
 2
       Defendant Thrive Causemetics, Inc. (“Thrive Causemetics”) respectfully submits
 3
       the following Offer of Proof regarding its affirmative defenses of abandonment and
 4
       laches.
 5
       I.    ABANDONMENT
 6
             In support of its affirmative defense of abandonment, Thrive Causemetics
 7
       intends to offer testimony from Plaintiff Thrive Natural Care, Inc.’s (“Thrive
 8
       Natural Care”) co-founder and Chief Executive Officer Alex McIntosh, and the
 9
       supporting documents identified below.
10
             A.     Testimony At Trial
11
             Thrive Causemetics anticipates that it will obtain the following testimony
12
       from Mr. McIntosh (see excerpts of Dep. Tr. of Ecomundi Ventures, LLC (July 30,
13
       2021) at 5:24-8:20, 18:8-14, 19:3-25:4, 40:10-52:5, 52:7-55:20, which is being
14
       submitted electronically to the Court’s chambers CM/ECF address via Dropbox
15
       link and labeled as Exhibit A):
16
             Mr. McIntosh is the co-founder and Chief Executive Officer of Thrive
17
       Natural Care, Inc., and that he is also the founder and managing member of
18
       Ecomundi Ventures, LLC (“Ecomundi”).
19
             On September 11, 2012, Ecomundi filed with the United States Trademark
20
       and Patent Office (“USPTO”) an intent-to-use trademark application, Application
21
       Serial No. 85726058, for the mark THRIVE in connection with “Personal care
22
       products for cosmetic use, namely, hair shampoos and conditioners, hair styling
23
       preparations; body and hand washes, soaps and gels; non-medicated skin care
24
       preparations, namely, body lotions; cosmetic sun care preparations and sunscreens;
25
       lip creams and balms; antiperspirants and deodorants for personal use; shaving
26
       creams and gels; non-medicated baby care products, namely, baby lotions, creams,
27
28
                                                -1-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
     Case 2:20-cv-09091-PA-AS Document 139 Filed 10/15/21 Page 3 of 15 Page ID #:6668



 1
       body cleansers, shampoos, gels and washes, diaper rash creams and ointments”
 2
       (the “’058 Application”).
 3
             Mr. McIntosh signed the ‘058 Application on behalf of Ecomundi, and in the
 4
       ‘058 Application, Ecomundi claimed that it had a bona fide intent to use the
 5
       THRIVE mark in commerce in connection with the above-listed goods.
 6
             Although Ecomundi undertook certain activities related to the THRIVE
 7
       mark, including researching and developing skincare products, releasing a request
 8
       for proposal regarding branding and advertising for the products, interviewing
 9
       potential manufacturers and sales representatives, and registering the
10
       thrivenaturalcare.com website and e-mail domains, Ecomundi has never sold any
11
       product bearing the THRIVE mark, and Mr. McIntosh is not aware that Ecomundi
12
       or its agents ever showed material bearing the THRIVE mark (including product
13
       packaging or marketing materials) to consumers or retailers prior to May 23, 2013.
14
             On September 27, 2013, Ecomundi entered into an agreement with Thrive
15
       Natural Care, effective May 23, 2013, to assign all right, title, interest, and
16
       goodwill in the ‘058 Application to Thrive Natural Care, and that Ecomundi has
17
       made no use of the THRIVE mark since at least May 23, 2013 (which Thrive
18
       Natural Care has admitted in the [Proposed] Final Pretrial Conference Order, see
19
       ECF No. 106-1, at 2:16-17).
20
             On January 14, 2014, the ‘058 Application matured into U.S. Registration
21
       No. 4,467,942 (the “‘942 Registration”), which is registered in the name of Thrive
22
       Natural Care.
23
             B.     Relevancy of the Testimony
24
             To prove its affirmative defense of abandonment, Thrive Causemetics must
25
       demonstrate by a preponderance of the evidence that Ecomundi is the true owner
26
       of the ’058 Application, and consequently, the ’942 Registration, and that
27
       Ecomundi discontinued use of the THRIVE mark in the ordinary course of trade,
28
                                                 -2-
                              DEFENDANT THRIVE CAUSEMETICS, INC.’S
                       OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
     Case 2:20-cv-09091-PA-AS Document 139 Filed 10/15/21 Page 4 of 15 Page ID #:6669



 1
       intending not to resume using it. See 15 U.S.C. §§ 1115(b)(2), 1127; Mister Donut
 2
       of Am., Inc. v. Mr. Donut, Inc., 418 F.2d 838, 842 (9th Cir. 1969); J. Thomas
 3
       McCarthy, Trademarks and Unfair Competition §§ 2:15, 2:16 (5th ed. 2021). With
 4
       respect to the first requirement, Thrive Causemetics must demonstrate that
 5
       Ecomundi’s assignment of the ‘058 Application to Thrive Natural Care was invalid
 6
       because there was no goodwill in the THRIVE mark, and thus, Thrive Natural Care
 7
       did not succeed to any rights in the ‘058 Application. See 15 U.S.C. § 1060(a)(1);
 8
       E. & J. Gallo Winery v. Gallo Cattle Co., 967 F.2d 1280, 1289 (9th Cir. 1992);
 9
       Patagonia, Inc. v. Anheuser-Busch, LLC, No. 2:19-cv-02702-CAP-JEMx, 2020
10
       WL 8514835, at *7 (C.D. Cal. Sept. 3, 2020); Sebastian Brown Prods. LLC v.
11
       Muzooka Inc., No. 15-CV-01720-LHK, 2016 WL 5910817, at *9 (“[N]o goodwill
12
       is created when a mark is seen by the consuming public only in very limited
13
       quantity.”) (N.D. Cal. Oct. 11, 2016) (internal quotations and citation omitted);
14
       Kleven v. Hereford, No. CV 13-02783-AB (AGRx), 2015 WL 4977185, at *22-23
15
       (C.D. Cal. Aug. 21, 2015); Glow Indus., Inc. v. Lopez, 273 F. Supp. 2d 1095, 1107-
16
       08 (C.D. Cal. 2003) (“A ‘naked’ or ‘in gross’ transfer of a mark, i.e., without the
17
       associated goodwill, is invalid.”) (citations omitted); interState Net Bank v.
18
       NetB@nk Inc., 348 F. Supp. 2d 340, 349 (D.N.J. 2004).
19
             Mr. McIntosh’s testimony is relevant to TCI’s abandonment defense because
20
       it is probative of (1) how Thrive Natural Care came to purportedly own rights in
21
       the THRIVE mark through a putative assignment from Ecomundi; (2) the nature
22
       and limited extent of Ecomundi’s purported use of the THRIVE mark prior to the
23
       putative assignment to Thrive Natural Care; (3) Ecomundi’s cessation of all use of
24
       the THRIVE mark after the putative assignment; and (4) the maturation of the ‘058
25
       Application into the ‘942 Registration, one of the trademark registrations that
26
       Thrive Natural Care claims Thrive Causemetics infringed in this action. The
27
       above-referenced testimony is relevant to establish that the assignment from
28
                                                -3-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
       Ecomundi was invalid because there was no goodwill in the THRIVE mark at the
 2
       time of the putative assignment, that Ecomundi therefore remained the true owner
 3
       of the ‘058 Application and later the ‘942 Registration, and that Ecomundi
 4
       subsequently abandoned the THRIVE mark through non-use.
 5
             C.    Supporting Documents
 6
             Thrive Causemetics will rely upon the following documents, which are
 7
       being submitted electronically to the Court’s chambers CM/ECF address via
 8
       Dropbox link, to support the above-described testimony from Mr. McIntosh:
 9
10                 Title                  Author(s)           Date            Trial Ex. No.
       Plaintiff Thrive Natural      Thrive Natural Care June 28, 2021        55
11     Care, Inc.’s Supplemental
12     Responses and Objections
       to Defendant Thrive
13     Causemetics, Inc.’s First
14     Set of Interrogatories
       Trademark/Service Mark        Thrive Natural Care October 4, 2013 92
15     Statement of Use for
16     Application Serial No.
       85726058
17     Trademark/Service Mark        Thrive Natural Care September 11,        95
18     Application, Principal                            2012
       Register for “THRIVE”
19     Mark, Application Serial
20     No. 85726058
       Nunc Pro Tunc Trademark       Thrive Natural Care September 27,        96
21
       Assignment                                        2013
22     Thrive Natural Care, Inc.,    Thrive Natural Care May 23, 2013         97
       Restricted Stock Purchase
23
       Agreement
24
25
26
27
28
                                               -4-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1         Certified Copy of U.S.        United States Patent January 14,          3051
 2         Trademark Registration        & Trademark Office 2014
           No. 4,467,942
 3         Notice of Divisional          United States Patent November 5,    350
 4         Request Completed             & Trademark Office 2013
           Trademark/Service Mark        Thrive Natural Care October 3, 2013 352
 5         Request to Divide for
 6         Application Serial No.
           85726058
 7         Thrive Natural Care’s         Thrive Natural Care July 29, 2021         394
 8         Response’s to TCI’s First
           Set of Requests for
 9         Admission
10         Plaintiff Thrive Natural      Thrive Natural Care August 5, 2021        420
           Care, Inc.’s Responses and
11
           Objections to Defendant
12         Thrive Causemetics, Inc.’s
           Second Set of
13
           Interrogatories
14
15     II.      LACHES
16              In support of its affirmative defense of laches, TCI intends to offer the
17     testimony of Thrive Causemetics’ founder and Chief Executive Officer Karissa
18     Bodnar, Thrive Causemetics’ Chief Financial Officer Ned Menninger, and Thrive
19     Natural Care’s co-founder and Chief Executive Officer Alex McIntosh, and the
20     supporting documents identified below.
21              A.    Witness Karissa Bodnar
22                    1.     Testimony At Trial
23              Ms. Bodnar will testify that she is the founder and Chief Executive Officer
24     of Thrive Causemetics.
25
26     1
        Trial Exhibit No. 305 is a physical exhibit, and thus is not included in the
27     materials being submitted electronically to the Court’s chambers CM/ECF address
       via Dropbox link.
28
                                                   -5-
                               DEFENDANT THRIVE CAUSEMETICS, INC.’S
                        OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
     Case 2:20-cv-09091-PA-AS Document 139 Filed 10/15/21 Page 7 of 15 Page ID #:6672



 1
             She will further testify regarding the parties’ communications related to
 2
       Thrive Natural Care’s claim that Thrive Causemetics’ use of the THRIVE
 3
       CAUSEMETICS name infringed Thrive Natural Care’s purported rights in the
 4
       mark THRIVE. Specifically, Ms. Bodnar will testify that in April of 2016, she
 5
       sent an e-mail to Alex McIntosh respecting use of the term “thrive” as part of
 6
       Thrive Causemetics’ name. She will further testify that at the time she sent this e-
 7
       mail, it was her understanding that Thrive Natural Care sold men’s shaving
 8
       products and was in a different market that Thrive Causemetics. Ms. Bodnar will
 9
       testify that in his response to her e-mail, Mr. McIntosh declined her request and
10
       stated that Thrive Natural Care already sells “female cosmetic products.” Ms.
11
       Bodnar will further testify that notwithstanding Mr. McIntosh’s claim regarding
12
       the scope of Thrive Natural Care’s products and putative trademark rights, Mr.
13
       McIntosh did not demand that Thrive Causemetics cease using the term “thrive,”
14
       whether as part of Thrive Causemetics’ name or otherwise, and did not commence
15
       any legal action regarding that use.
16
             Ms. Bodnar will also testify that on or around March 3, 2017, Thrive
17
       Causemetics received a cease-and-desist letter from Thrive Natural Care claiming
18
       that Thrive Causemetics was infringing Thrive Natural Care’s trademark rights
19
       with respect to the mark THRIVE. She will further testify that on or around April
20
       12, 2017, counsel for Thrive Causemetics sent a response to Thrive Natural Care’s
21
       March 3, 2017 letter, which disputed Thrive Natural Care’s claim and stated that
22
       Thrive Causemetics would not agree to cease use of the THRIVE CAUSEMETICS
23
       brand name. Ms. Bodnar will also testify that Thrive Natural Care never
24
       responded to Thrive Causemetics’ letter, and that Thrive Natural Care did not take
25
       any legal action against Thrive Causemetics following its April 2017 letter.
26
             Ms. Bodnar will further testify that in or around June 2019, she reached out
27
       to Mr. McIntosh to discuss the parties’ respective marks and the prospect of
28
                                                -6-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
     Case 2:20-cv-09091-PA-AS Document 139 Filed 10/15/21 Page 8 of 15 Page ID #:6673



 1
       documenting the parties’ existing and ongoing coexistence by way of a coexistence
 2
       agreement between the companies. She will testify that Mr. McIntosh did not
 3
       agree to a coexistence agreement and instead wanted a “mechanism” that
 4
       acknowledged Thrive Natural Care’s claimed interest in the THRIVE mark, to
 5
       which Ms. Bodnar would not agree. Ms. Bodnar will also testify that the parties’
 6
       conversation ended without them reaching any type of agreement, that after June
 7
       2019, she did not have any further discussions with Mr. McIntosh or anyone
 8
       representing Thrive Natural Care, and Thrive Natural Care took no action with
 9
       respect to Thrive Causemetics until the filing of this lawsuit in October 2020.
10
             Furthermore, Ms. Bodnar will testify that from the period of April 2016
11
       through October 2020, Thrive Causemetics continued to build a valuable business
12
       around its THRIVE CAUSEMETICS brand name, including by investing
13
       significant time and resources in promoting its mark and corresponding brand
14
       identity. Specifically, Ms. Bodnar will testify that during this period, Thrive
15
       Causemetics substantially increased its investment in marketing and advertising its
16
       THRIVE CAUSEMETICS brand name and products, and developed and launched
17
       over three dozen color cosmetics and skincare products. Ms. Bodnar will further
18
       testify regarding the success of Thrive Causemetics’ substantial investment in the
19
       promotion of its products and brand during this period. Specifically, Ms. Bodnar
20
       will testify that Thrive Causemetics’ efforts have (1) led to significant exposure
21
       from major media outlets such as Forbes, Cosmopolitan, Allure, Good Morning
22
       America, TODAY Show, and People Magazine; (2) created a sizeable social media
23
       presence that currently includes over 623,000 followers on Facebook and over
24
       538,000 followers on Instagram; (3) generated significant revenues from 2016
25
       through 2020; and (4) developed a loyal and engaged customer base that supports
26
       Thrive Causemetics’ charitable giving mission, suggests new product ideas, and
27
       provides ideas to improve product formulations.
28
                                                -7-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
                    2.     Relevancy of the Testimony
 2
             To establish the affirmative defense of laches, Thrive Causemetics must
 3
       demonstrate by a preponderance of the evidence that Thrive Natural Care
 4
       unreasonably delayed in bringing this lawsuit and that Thrive Causemetics suffered
 5
       prejudice. See, e.g., Miller v. Glenn Miller Prods., Inc., 454 F.3d 975, 997 (9th
 6
       Cir. 2006); Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 836, 838
 7
       (9th Cir. 2002). To meet the “prejudice” requirement for laches, Thrive
 8
       Causemetics can demonstrate that it suffered economic prejudice, meaning the
 9
       investment of time and resources in promoting a mark and corresponding brand
10
       identity. See, e.g., Grupo Gigante SA De CV v. Dallo & Co., Inc., 391 F.3d 1088,
11
       1105 (9th Cir. 2004) (holding that “a defendant can make the required showing of
12
       prejudice by proving that it has continued to build a valuable business around its
13
       trademark during the time that the plaintiff delayed the exercise of its legal
14
       rights”); Fitbug Ltd. v. Fitbit, Inc., 78 F. Supp. 3d 1180, 1194 (N.D. Cal. 2015);
15
       Trustees of Columbia Univ. v. Columbia/HCA Healthcare Corp., 964 F. Supp. 733,
16
       753 (S.D.N.Y. 1997).
17
             The testimony that Thrive Causemetics will offer from Ms. Bodnar
18
       regarding the parties’ communications in 2016, 2017, and 2019 is relevant to the
19
       first element of Thrive Causemetics’ laches defense – unreasonable delay by
20
       Thrive Natural Care. Ms. Bodnar’s testimony will demonstrate that Thrive Natural
21
       Care first learned of Thrive Causemetics and its use of the THRIVE
22
       CAUSEMETICS brand name, and that Thrive Natural Care believed that it had a
23
       colorable claim of infringement against Thrive Causemetics as least as early as
24
       April 2016. Even though Thrive Natural Care has since abandoned its
25
       infringement claim as to color cosmetics, such a claim was included in Thrive
26
       Natural Care’s complaint as originally filed, and the relevant consideration for
27
       laches purposes is that as early as April 2016, Mr. McIntosh held and expressed the
28
                                                 -8-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
     view that Thrive Causemetics’ use of the THRIVE CAUSEMETICS brand name
 2
     was infringing, ostensibly because the parties’ sold overlapping products,
 3
     specifically, “female cosmetic products.”
 4
           The testimony that Thrive Causemetics will offer from Ms. Bodnar
 5
     regarding Thrive Causemetics’ efforts to build a valuable business around its
 6
     THRIVE CAUSEMETICS brand name from 2016 through 2020 is relevant to the
 7
     second element of Thrive Causemetics’ laches defense – prejudice. Ms. Bodnar’s
 8
     testimony is probative of the substantial time and financial resources that Thrive
 9
     Causemetics invested in building its business and brand, and of the commercial
10
     success Thrive Causemetics has achieved in gaining market recognition of its
11
     brand among consumers. This testimony is relevant to establishing that Thrive
12
     Causemetics suffered economic prejudice during the four and one-half years that
13
     Thrive Natural Care delayed in enforcing its purported rights in the THRIVE mark.
14
                  3.    Supporting Documents
15
           Thrive Causemetics will rely upon the following documents, which which
16
     are being submitted electronically to the Court’s chambers CM/ECF address via
17
     Dropbox link, to support the above-described testimony from Ms. Bodnar:
18
19                Title                   Author(s)             Date          Trial Ex. No.
      Thrive Causemetics’            Thrive Causemetics     March 2021        4
20    Product List Spreadsheet
21    Email Chain Between K.         Karissa Bodnar;        April 22-23,      30
      Bodnar and A. McIntosh         Alex McIntosh          2016
22    Letter From T. Manfredi to     Travis Manfredi        March 3, 2017     31
23    K. Bodnar
      Notes re: Call with A.         Nicole Benjamin        June 27, 2019     33
24    McIntosh
25    Letter from S. McChesney       Sean McChesney         April 12, 2017    381
      to T. Manfredi
26
27
28
                                              -9-
                          DEFENDANT THRIVE CAUSEMETICS, INC.’S
                   OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
           B.      Witness Ned Menninger
 2
                   1.    Testimony At Trial
 3
           Mr. Menninger will testify that he is the Chief Financial Officer of Thrive
 4
     Causemetics.
 5
           Mr. Menninger will testify regarding Thrive Causemetics’ marketing
 6
     expenses and sales revenues between 2016 and 2020, as reflected in financial
 7
     reports that Mr. Menninger generated. Mr. Menninger will testify that Thrive
 8
     Causemetics increased its advertising spending from approximately $400,000 in
 9
     the last few months of 2016 to more than ten times that amount in 2017, and
10
     another tenfold increase in advertising spending by 2019, and will further testify as
11
     to the revenues that Thrive Causemetics has achieved as reflected in the financial
12
     reports that he generated.
13
                   2.    Relevancy of the Testimony
14
           As explained, to establish the affirmative defense of laches, Thrive
15
     Causemetics must demonstrate by a preponderance of the evidence that Thrive
16
     Natural Care unreasonably delayed in bringing the instant lawsuit and that Thrive
17
     Causemetics suffered prejudice. See, e.g., Miller v. Glenn Miller Prods., Inc., 454
18
     F.3d 975, 997 (9th Cir. 2006); Grupo Gigante SA De CV v. Dallo & Co., Inc., 391
19
     F.3d 1088, 1105 (9th Cir. 2004) (holding that “a defendant can make the required
20
     showing of prejudice by proving that it has continued to build a valuable business
21
     around its trademark during the time that the plaintiff delayed the exercise of its
22
     legal rights”); Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304 F.3d 829, 836,
23
     838 (9th Cir. 2002); Fitbug Ltd. v. Fitbit, Inc., 78 F. Supp. 3d 1180, 1194 (N.D.
24
     Cal. 2015).
25
           Mr. Menninger’s testimony is relevant to the second element of Thrive
26
     Causemetics’ laches defense – prejudice. Mr. Menninger’s testimony is probative
27
     of the substantial financial investment that Thrive Causemetics made in the
28
                                              -10-
                           DEFENDANT THRIVE CAUSEMETICS, INC.’S
                    OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
     THRIVE CAUSEMETICS brand and products bearing the THRIVE
 2
     CAUSEMETICS mark, and of the substantial revenues that Thrive Causemetics
 3
     has achieved as a result, reflective of significant market recognition of the
 4
     THRIVE CAUSEMETICS brand among consumers.
 5
                  3.     Supporting Documents
 6
           Thrive Causemetics will rely upon the following documents, which are
 7
     being submitted electronically to the Court’s chambers CM/ECF address via
 8
     Dropbox link, to support the above-described testimony from Ms. Bodnar:
 9
10                Title                   Author(s)              Date          Trial Ex. No.
      TCI’s Revenue Information      Thrive Causemetics      March 2021        2
11    for Color Cosmetics (2016
12    – 2021)
      TCI’s Revenue Information      Thrive Causemetics      March 2021        3
13    for Skincare (2018 – Feb.
14    2021)
      TCI Revenue Information        Thrive Causemetics      June 2021         38
15
16
           C.     Witness Alex McIntosh
17
                  1.     Testimony At Trial
18
           Thrive Causemetics anticipates that it will obtain the following testimony
19
     from Mr. McIntosh:
20
           Mr. McIntosh will testify at trial regarding the parties’ communications
21
     related to Thrive Natural Care’s claim that Thrive Causemetics’ use of the
22
     THRIVE CAUSEMETICS brand name infringed Thrive Natural Care’s purported
23
     rights in the mark THRIVE. Specifically, Mr. McIntosh will testify regarding the
24
     substance of and circumstances surrounding (1) the parties’ April 2016 e-mail
25
     exchange (including his stated belief at the time that the parties’ products
26
     overlapped, including with respect to “female cosmetic products”); (2) Thrive
27
28
                                              -11-
                          DEFENDANT THRIVE CAUSEMETICS, INC.’S
                   OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
     Natural Care’s March 3, 2017 cease-and-desist letter to Thrive Causemetics; (3)
 2
     Thrive Causemetics’ April 12, 2017 response to Thrive Natural Care’s cease-and-
 3
     desist letter; and (4) the parties’ June 27, 2019 telephone call.
 4
           Mr. McIntosh will also testify regarding the substance of and circumstances
 5
     surrounding his e-mail communications from 2017 through 2019 with employees
 6
     at Thrive Natural Care and third parties regarding his belief that Thrive
 7
     Causemetics’ use of the THRIVE CAUSEMETICS brand name was infringing.
 8
           Mr. McIntosh will further testify regarding the reasons Thrive Natural Care
 9
     did not take legal action against Thrive Causemetics until October 2, 2020,
10
     including that Thrive Natural Care did not want to spend money on a lawsuit. He
11
     will also testify regarding his understanding of the consequences of failing to
12
     promptly enforce Thrive Natural Care’s purported rights in the THRIVE mark
13
     against potential infringers, including that a third-party’s common use of the
14
     THRIVE mark over time could allow the third party to continue using the mark.
15
                  2.     Relevancy of the Testimony
16
           As explained, to establish the affirmative defense of laches, Thrive
17
     Causemetics must demonstrate by a preponderance of the evidence that Thrive
18
     Natural Care unreasonably delayed in bringing the instant lawsuit and that Thrive
19
     Causemetics suffered prejudice. See, e.g., Miller v. Glenn Miller Prods., Inc., 454
20
     F.3d 975, 997 (9th Cir. 2006); Jarrow Formulas, Inc. v. Nutrition Now, Inc., 304
21
     F.3d 829, 836, 838 (9th Cir. 2002); Fitbug Ltd. v. Fitbit, Inc., 78 F. Supp. 3d 1180,
22
     1194 (N.D. Cal. 2015).
23
           Mr. McIntosh’s testimony regarding the parties’ 2016, 2017, and 2019
24
     communications is probative of the first element of Thrive Causemetics’ laches
25
     defense – unreasonable delay by Thrive Natural Care. His testimony will
26
     demonstrate that Thrive Natural Care first learned of Thrive Causemetics and its
27
     use of the THRIVE CAUSEMETICS brand name and believed that it had a
28
                                              -12-
                           DEFENDANT THRIVE CAUSEMETICS, INC.’S
                    OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1
     colorable claim of infringement against Thrive Causemetics as early as April 2016.
 2
     This testimony is relevant to establishing that the laches period began to run no
 3
     later than April 2016, when Thrive Natural Care expressed its belief that Thrive
 4
     Causemetics’ use of the THRIVE CAUSEMETICS brand name was infringing.
 5
           Mr. McIntosh’s testimony will also demonstrate Thrive Natural Care’s
 6
     ongoing belief from 2017 through 2019 that Thrive Causemetics’ use of the
 7
     THRIVE CAUSEMETICS brand name on its products was infringing, including as
 8
     reflected in its March 2017 cease-and-desist letter to Thrive Causemetics and in
 9
     Mr. McIntosh’s 2017, 2018, and 2019 e-mail communications to various
10
     individuals. This testimony is relevant because it will demonstrate Thrive Natural
11
     Care’s knowledge of and persistent belief that Thrive Causemetics was infringing
12
     the THRIVE mark, but that it took no legal action to enforce its purported
13
     trademark rights against Thrive Causemetics for over four and one-half years.
14
           Finally, Mr. McIntosh’s testimony is probative of the reason Thrive Natural
15
     Care delayed in pursuing legal action against Thrive Causemetics—that Thrive
16
     Natural Care did not want to invest money to enforce its purported trademark
17
     rights. This testimony and the supporting documents will refute Thrive Natural
18
     Care’s assertions that it took no action because it believed that Thrive Causemetics
19
     had ceased use of the THRIVE CAUSEMETICS brand name after the parties’
20
     April 2016 e-mail exchange. Such testimony is relevant to demonstrate that Thrive
21
     Natural Care’s four and one-half year delay in pursuing legal action was
22
     unreasonable.
23
                  3.     Supporting Documents
24
           Thrive Causemetics will rely upon the following documents, which which
25
     are being submitted electronically to the Court’s chambers CM/ECF address via
26
     Dropbox link, to support the above described testimony from Mr. McIntosh:
27
28
                                             -13-
                            DEFENDANT THRIVE CAUSEMETICS, INC.’S
                     OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
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 1               Title               Author(s)           Date        Trial Ex. No.
 2   Letter From T. Manfredi to   Travis Manfredi   March 3, 2017    31
     K. Bodnar
 3   Email Chain Between A.       Karissa Bodnar,   April 22-23, 2016 72
 4   McIntosh and K. Bodnar       Alex McIntosh
     Email Chain Between A.       Alex McIntosh,    May 3, 2017      88
 5   McIntosh and E. Bruss        Ellen Bruss
 6   Email Chain Between A.       Alex McIntosh;    November 20,     89
     McIntosh and B. Boothe       Brandon Boothe    2017
 7
     Email Chain Between C.       Alex McIntosh;    May 24, 2018     90
 8   Kelley and A. McIntosh       Chris Kelley
     Email Chain Between P.       Alex McIntosh;    September 17,    91
 9
     Segal and A. McIntosh        Phil Segal        2019
10   Letter from S. McChesney     Sean McChesney    April 12, 2017   381
     to T. Manfredi
11
12
     DATED: October 15, 2021           SIDLEY AUSTIN LLP
13
14                                      By: /s/ Rollin A. Ransom
                                          Rollin A. Ransom
15
                                        Attorneys for Defendant
16                                      Thrive Causemetics, Inc.

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                        DEFENDANT THRIVE CAUSEMETICS, INC.’S
                 OFFER OF PROOF REGARDING ITS AFFIRMATIVE DEFENSES
